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                                                                                                                   ‫בס"ד‬
                                           Dibo Hafif
                                 57 Gravesend Neck Road, 1Fl.
                                   Brooklyn, New York 11223
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      __________________________________________________________________________
                                                    October 09, 2023


      VIA ECF

      Honorable LaShann DeArcy Hall
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201



      Re:        Hafif v.Rabbi Eli J. Mansour, et al.,
                 22-CV-1199 (LDH)(RML)


      Dear Honorable Court:


              I hope this letter finds you well. I am writing to express my concern about the prolonged inactivity
      in the aforementioned case, and I would like to request your assistance in expediting the resolution of
      this matter.


              As you are aware, this case has remained dormant for several months, and I have been patiently
      awaiting the Court's attention to my requests for alternative service. I understand that the Court strives
      to ensure a speedy and just resolution to all actions in Federal Court, and I am hopeful that you can
      help facilitate the progress of this case so that it may proceed on its merits.


              I am committed to cooperating fully with the Court and all parties involved to ensure a fair and
      timely resolution. I kindly request that you review the status of this case and take any necessary steps
      to move it forward.


              Thank you for your consideration of this matter. I remain committed to upholding the principles
      of justice, and I trust that the Court will continue to act in the best interests of all parties involved.
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Respectfully submitted,

/s/ Dibo Hafif
Pro Se Plaintiff
